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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF CALIFORNIA



DAVID JAMES PANGBORN,                                    No. 2:21-cv-0631-CKD P

                    Plaintiff,

           v.

A. GORRELL, et al.,                                      AMENDED
                                                         ORDER & WRIT OF HABEAS CORPUS
                    Defendants.                          AD TESTIFICANDUM
                                                  /

David James Pangborn, CDCR # AW-7484, a necessary and material witness in a settlement
conference in this case on October 28, 2021, is confined in California State Prison, Sacramento
(SAC), in the custody of the Warden. In order to secure this inmate's attendance it is necessary
that a Writ of Habeas Corpus ad Testificandum issue commanding the custodian to produce the
inmate before Magistrate Judge Kendall J. Newman, by Zoom video conference from his place of
confinement, on Thursday, October 28, 2021 at 1:30 p.m.

                                   ACCORDINGLY, IT IS ORDERED that:

        1. This shall amend the writ issued September 20, 2021.

        2. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
           commanding the Warden to produce the inmate named above, by Zoom video conference,
           to participate in a settlement conference at the time and place above, until completion of
           the settlement conference or as ordered by the court. Zoom video conference connection
           information will be supplied via separate email.

        3. The custodian is ordered to notify the court of any change in custody of this inmate and is
           ordered to provide the new custodian with a copy of this writ.

        4. The Clerk of the Court is directed to serve a copy of this order via fax on the Litigation
           Office at California State Prison, Sacramento at (916) 294-3072 or via email.

        5. Any difficulties connecting to the Zoom video conference shall immediately be reported
           to Alexandra Waldrop, Courtroom Deputy, at awaldrop@caed.uscourts.gov.

                         WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: Warden, SAC, P. O. Box 290002, Represa, California 95671:

WE COMMAND you to produce the inmate named above to testify before Judge Newman at the
time and place above, by Zoom video conference, until completion of the settlement conference
or as ordered by the court.

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FURTHER, you have been ordered to notify the court of any change in custody of the inmate
and have been ordered to provide the new custodian with a copy of this writ.


Dated: October 13, 2021
                                             _____________________________________
                                             CAROLYN K. DELANEY
                                             UNITED STATES MAGISTRATE JUDGE
